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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA


 IN RE: ZANTAC (RANITIDINE)                                                    MDL NO. 2924
 PRODUCTS LIABILITY                                                             20-MD-2924
 LITIGATION
                                                    JUDGE ROBIN L. ROSENBERG
                                          MAGISTRATE JUDGE BRUCE E. REINHART

 _______________________________/

 THIS DOCUMENT RELATES TO: ALL CASES

                                   PRETRIAL ORDER #9
                                Order Cancelling Initial Conference

        This matter comes before the Court sua sponte. The Court currently has scheduled its Initial

 Conference to be held on March 20, 2020, at 9:00 a.m., pursuant to the Court’s Pretrial Order #1. The

 Court had also indicated its intent to schedule interviews of applicants to the plaintiffs’ leadership

 team, to be conducted on March 19, 2020. In light of the ongoing developments with the spread of

 COVID-19 (coronavirus), the Court cancels the Initial Conference and will not schedule plaintiffs’

 leadership presentations for March 19, 2020. The Court will issue an order rescheduling the Initial

 Conference and leadership presentations at a time as soon as practicable that accounts for the health

 and safety of all prospective participants. The Court recognizes that many of the prospective

 participants at the Initial Conference must travel by plane in order to attend the conference and that

 the prospective participants, in large part, desire to appear in person. The Court will endeavor to

 reschedule the Initial Conference at a time when all prospective participants can attend in person.

 However, in light of the fact that the Court cannot predict the duration of time that the coronavirus

 situation may continue, the Court may have to reschedule the conference at a time and in a manner

 that provides for attendance by alternative means, such as videoconferencing. Should the Court have

 to provide for such alternative means of attendance, the Court requests that the parties, through
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 counsel, begin to work together to agree upon a workable situation whereby a more limited group of

 representatives of the parties may be able to appear by videoconferencing, while others can appear

 by telephone to listen to the conference, but not actively participate. This will ensure a more

 efficiently-run conference that will lessen the likelihood of technological difficulties and

 interruptions.

        The Court recognizes the unusual and somewhat unprecedented situation in which the parties

 and counsel, as well as the Court, are functioning. The Court will continue to be responsive to the

 situation, but wants to ensure that to the greatest extent possible the litigation continues to move

 forward. In the intervening weeks, the parties should work together to identify areas in which they

 agree as to how this case can most efficiently be litigated by the parties and managed by the Court

 and begin working toward making meaningful progress in those areas. Similarly, this time also

 provides the parties with the opportunity to identify those areas in which they do not agree and spend

 time working through those disagreements to find areas of common ground. The Court appreciates

 the work of Professor Dodge in facilitating this collaboration thus far, and looks forward to continued

 joint problem-solving by counsel over the coming weeks. The Court further takes this moment to

 commend counsel on both sides for the tremendous amount of work that has already been

 accomplished, and equally (if not more) important to the Court, the professionalism and collegiality

 which counsel have demonstrated in their work.           It is incumbent upon all counsel to work

 collaboratively and professionally to advance the interests of their individual clients while ensuring

 the efficient management of the litigation as a whole.

        All deadlines that the Court has put in place through the Orders it has issued remain in place

 with the exception of the deadlines set in Pretrial Order #8 that required the submission of an agreed,

 proposed agenda by noon on March 16, 2020, and the submission of all materials to be presented at

 the conference by noon on March 18, 2020. In lieu of those requirements, the Court orders that by

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 no later than 4:30 p.m. on March 18, 2020, the parties email to Rosenberg@flsd.uscourts.gov a joint

 letter, setting forth the parties’ proposal for the work to be done between now and May 1, 2020. This

 letter should include, but is not limited to, the issues the parties intend to jointly work on (whether

 these will be completed or only in process by the conference), as well as any additional deliverables

 that are anticipated to be completed by the Initial Conference. In addition, the plaintiffs shall identify

 any additional categories of work for the common benefit of the MDL, for which they seek Court

 authorization. Mr. Gilbert shall represent plaintiffs with respect to this joint letter.

         Upon receipt of the proposed orders and joint letter, the Court will consider the submissions

 and issue additional orders as appropriate. In the interim, the Initial Census Team and Practices and

 Procedures Team shall continue their previously designated work. Specifically, the proposed orders

 due to this Court next week shall be drafted and approved by these teams on behalf of the plaintiffs.

 Mr. McGlamry is hereby directed to be responsible for any plaintiff filings by the Initial Census Team,

 and Mr. Gilbert is responsible for any plaintiff filings by the Practices and Procedures Team.

         In order to advance the census and the commencement of discovery, the Court recognizes the

 need for the plaintiffs to have vendors in place to facilitate the work of plaintiffs’ counsel. Mr. Pulaski

 is authorized to negotiate and execute contracts on behalf of the plaintiffs’ Initial Census and Practices

 and Procedures Teams, as prudent and beneficial to the census and discovery processes, for collection

 and entry of census data, retrieval of medical records, and creation and maintenance of a census

 platform. Recognizing the impending commencement of discovery in this matter, Ms. Finken is

 authorized to negotiate and sign contracts with ESI/ document repository vendors. Mr. Pulaski and

 Ms. Finken are directed to consult with the other members of the Initial Census and Practices and

 Procedures Teams on these bids and further obtain authorization from those teams before signing any

 contract on behalf of the plaintiffs.



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         The Court takes the obligations of leadership very seriously. It expects those appointed to

 represent plaintiffs, including during this interim period, to act in the best interests of the collective

 plaintiffs in this MDL, not their own self-interests. The Court also highly values transparency. In

 light of these guiding principles, the Court also requires that all vendors that are contracted pursuant

 to the foregoing authorizations of Mr. Pulaski and Ms. Finken sign an affidavit indicating whether

 the vendor corporation is owned directly or indirectly (e.g. through a corporation, trust, immediate

 family member etc.) in whole or in any part by any lawyer or firm in this litigation, by any lawyer or

 firm within the MDL bar, or any major pharmaceutical corporation or its board of directors. In lieu

 of this affidavit, publicly traded corporations shall simply state their public status. In addition, all

 corporations shall indicate whether they have any other financial relationship with counsel or parties

 in this litigation (directly or indirectly, including alternate vehicles such as loans), other than a vendor

 contract in other litigation. Finally, the vendor shall disclose any other relationship or fact that it

 believes, if known, would be material to the Court with respect to both the appearance of and actual

 conflicts of interest. The Court intends this disclosure obligation to be capaciously interpreted. Mr.

 Pulaski, Ms. Finken, and defense counsel shall confer with each other and Professor Dodge regarding

 the disclosures in the affidavits. Mr. Pulaski, Ms. Finken, and defense counsel shall provide a joint

 statement to the Court via email at Rosenberg@flsd.uscourts.gov, regarding whether they believe any

 conflict of interest exists and attaching to the statement copies of the affidavits. The statement should

 be filed as soon as practicable during the process of negotiating with and securing third party vendors.

         DONE and ORDERED in Chambers, West Palm Beach, Florida, this 13th day of March,

 2020.


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                                                          ROBIN L. ROSENBERG
                                                          UNITED STATES DISTRICT JUDGE


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